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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  SAVANNAH DIVISION

IN THE MATTER OF:            )
                             )
PAUL CHARLES LEMKE and       )
TWIGGY YELKO LEMKE,          )                       CHAPTER 7 CASE NO.:
                             )                       18-40343-EJC
                    DEBTORS. )


                       NOTICE OF INTENT TO ABANDON PROPERTY

                PLEASE TAKE NOTICE that pursuant to 11 U.S.C. § 554(a) of the
         Bankruptcy Code, Wendy A. Owens, Trustee, intends to and will abandon the
         following described property as burdensome or of inconsequential value to the estate,
         unless, within fifteen (15) days from the date of service of this Notice, a creditor or other
         interested party files a written objection and request for hearing with the Clerk of the
         Bankruptcy Court, at P. O. Box 8347, Savannah, GA, 31412, and serves a copy of such
         request on the trustee, Wendy A. Owens, P.O. Box 8846, Savannah, GA, 31412.
                Trustee intends to abandon the following property:

                5 Grande Lake Circle, Savannah, Georgia 31405

                This real property was listed with a petition value of $630,000.00 with a first lien
                from Synovus Mortgage Company in the amount of $574,247.20 and a second
                lien held by Morris State Bank in the amount of $475,482.79, which is secured by
                the above-referenced property and additionally, the three Texas properties. The
                Trustee abandons her interest in the subject property; however, to the extent, that
                the sale of the subject property results in any monies being distributed to the
                debtors, all such monies would become property of the bankruptcy estate with the
                exception of any exemptions claimed by the Debtors, which would be allowable
                by this court.


                                                      Respectfully submitted,


                                                      /s/ Wendy A. Owens
                                                      WENDY A. OWENS, Trustee/Petitioner


Wendy A. Owens, Esq.
GA BAR No. 557809
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Chapter 7 Trustee
P.O. Box 8846
Savannah, GA 31412
912-239-9888
trustee@coastalempirelaw.com
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
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IN THE MATTER OF:            )
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TWIGGY YELKO LEMKE,          )                 CHAPTER 7 CASE NO.:
                             )                 18-40343-EJC
                    DEBTORS. )

                                 CERTIFICATE OF SERVICE

        This is to certify that I have this date served the foregoing, NOTICE OF INTENT TO
ABANDON PROPERTY, through CM/ECF or by depositing same in the United States Mail with
sufficient postage affixed thereon, to those addressed below:

       Paul Charles Lemko                      Matthew E. Mills
       Twiggy Lemko                            Assistant U.S. Trustee
       5 Grande Lake Circle                    Office of the U.S. Trustee
       Savannah, Georgia 31405                 Johnson Square Business Center
                                               2 East Bryan Street, Ste. 725
       C. James McCallar, Jr.                  Savannah, GA 31401
       Attorney at Law
       Post Office Box 9026
       Savannah, Georgia 31412

       This the 17th day of September, 2018

                                                /s/ Wendy A. Owens
                                                 WENDY A. OWENS, Trustee/Petitioner
Prepared by:
Wendy A. Owens, Esq.
GA BAR No. 557809
Chapter 7 Trustee
P.O. Box 8846
Savannah, GA 31412
912-239-9888
trustee@coastalempirelaw.com
